

Matter of Revness (2021 NY Slip Op 01313)





Matter of Revness


2021 NY Slip Op 01313


Decided on March 4, 2021


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 4, 2021

PM-25-21

[*1]In the Matter of Michael J. Revness, an Attorney. (Attorney Registration No. 5520259.)

Calendar Date: March 1, 2021 

Before: Lynch, J.P., Clark, Pritzker, Reynolds Fitzgerald and Colangelo, JJ.


Michael J. Revness, Blue Bell, Pennsylvania, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Michael J. Revness was admitted to practice by this Court in 2017 and lists a business address in Wayne, Pennsylvania with the Office of Court Administration. Revness now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Revness' application.
Upon reading Revness' affidavit sworn to January 8, 2021 and filed January 12, 2021, and upon reading the February 18, 2021 correspondence in response by the Chief Attorney for AGC, and having determined that Revness is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Lynch, J.P., Clark, Pritzker, Reynolds Fitzgerald and Colangelo, JJ., concur.
ORDERED that Michael J. Revness' application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Michael J. Revness' name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Michael J. Revness is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Revness is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Michael J. Revness shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








